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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x

UNITED STATES OF AMERICA                                    :

                     - against -                            :                 ORDER

JULIO CESAR LOPEZ PENA,                                     :                 1:05 Cr. 00191 (DC)

                              Defendant.                    :

- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x

CHIN, Circuit Judge:

              On September 08, 2020, defendant Julio Cesar Lopez Pena, proceeding pro
se, moved for compassionate release pursuant to 18 U.S.C. § 3582(c)(1)(A) and the First
Step Act of 2018. Dkt. No. 132. The Government requested an extension to respond to
the motion, which was granted, and filed a response on October 01, 2020.

It is hereby ORDERED as follows:

            If Mr. Pena wishes to submit reply papers, he shall do so by
Monday, November 02, 2020.

              The Clerk of Court is directed to mail a copy of this Order to defendant
Julio Cesar Lopez Pena at the address listed below as well as to the Government.

                    SO ORDERED.

Dated:              New York, New York
                    October 16, 2020
                                                                      /s/ Denny Chin_____
                                                                 DENNY CHIN
                                                                 United States Circuit Judge
                                                                 Sitting by Designation
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To:   Julio Cesar Lopez Pena
      53076-053
      PO Box 2000
      White Deer, PA 17887

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      Southern District of New York
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